      Case 4:23-cv-01685 Document 41 Filed on 03/04/24 in TXSD Page 1 of 1
                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                           UNITED STATES DISTRICT COURT                                 March 06, 2024
                            SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                                HOUSTON DIVISION


ROBERT C. VILT,                                 §
                                                §
        Plaintiff,                              §
                                                §
VS.                                             §   CIVIL ACTION NO. 4:23-CV-01685
                                                §
FORIS DAX, INC., et al.,                        §
                                                §
        Defendants.                             §




                                            ORDER

       On March 4, 2024, the Court held a hearing on Defendant XR Trading’s Motion to Dismiss,

ECF No. 34. At that hearing, the Court concluded that it lacks personal jurisdiction over XR

Trading. Accordingly, XR Trading’s Motion to Dismiss is GRANTED. Plaintiff’s claims against

XR Trading are DISMISSED WITHOUT PREJUDICE. See ITL Int'l, Inc. v. Cafe Soluble, S.A.,

464 F. App'x 241, 244 (5th Cir. 2012) (holding that dismissal for lack of personal jurisdiction is

not an adjudication on the merits and must be without prejudice).

       IT IS SO ORDERED.

       Signed at Houston, Texas on March 4, 2024.


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                                                     Keith P. Ellison
                                                     United States District Judge
